 Case 2:03-cv-06194-JGB Document 40 Filed 08/24/04 Page 1 of 4 Page ID #:2663
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DARLENE M .M CKER                                                                        c;71*.';t       GD         wxwr
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A ttorneys for Petitioner                                                                        *
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M anuelM endoza

                             IJNITED SIW TES DISTRICT COURT
                            C ENTM L D ISTRIC T O F C AL IFO R NG
                                      (W ESTERN DIVISION)
M AM JEL M EN D OZA ,
                                                         CaseNo.CV 03-6194-5.
                                                                            10
               Petitioner,
                                                       APPLICATION TO APPOINT SECOND
                                                       PAM LEGAL PURSUANT TO THIS
JEAVNE W OODFORD,w arden,                              COURT'S AUGUST 11,2004 ORDER;
                                                       D ECLA R A TIO N O F D AR I,EN E RICK ER
               Respondent.

                                                            (PROPOSEDIORDER (ODGED
                                                                     CAPITAL CASE

       PetttionerM anuelM endoza,by andthrough hiscounselofrecord,hereby requests

attthodzation 9om this Courtto appointSydney Saucier as second paralegalpursuantto this

Court'sA ugust 11,2004 O rder. Thisgpplication isb@sed upon the attached declarafion of

coutlàel,DarleneRicker,and upon allfilesand recordsin theinstantcase.


August24,2004               ),
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                                                     1          Respectfullysubmitted,
                                 AkC 2 5 2001
                                                                D arlene M .Ricker
                            8ï                    021           AttorneyforPetitioner
                                                                M anuelM endoza
                            APPLICAT ON TO APPOINT SECOND PAM LEGAL
                                                                                                                #)
Case 2:03-cv-06194-JGB Document 40 Filed 08/24/04 Page 2 of 4 Page ID #:2664
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                          D E CL AR ATIO N O F C O U N SEL
                                IDARLENE W CU RI

     1,D A RLEN E RICKER,state and declare asfollow s:
                                  4.


           Iam an attom ey duly licensed topràdice1aw in thestateofCalifotniaatldbefbte

           thebarofthisCourt.Al1ofthefactsstated herein aretrtle offnype'
                                                                        rgoflal

           knowledge oruponbeliefgnd inform ation and ifcalled upon to testifythereto,I

           could and w ould do so com petently.

     2.    Iam appointed asco-counselwith attorneyKalyn Bucurto representPetitioner

           M anuelM endoza in the above-captioned case.

     3.    Thisdeclaration ism adeitlsupportofPetitioner'sApplication to Appoihta

           Second Paralegalpursuantto thisC ourt'sA ugust 11,2004,O rdqr.

    4.     Theinstantcaseisafederalcapitqlhahçasm atterundertheAEDPA .
     5.    On August11,2004,thisCourtissued an OrderAppm ving Budgel.In fhqtOrder,

           theCourtauthorized counse1to traip and usethe servicesofasecond pam tegAl.
    6.     Ihave spoken w ith and interview ed the proposed second paralegal,Sydney

           Saucier. Co-counselKaryn Bucutihform ed m e thatshe also interview ed and

           personally m etw ith M s.Saucieron August22,2004. Both coqnselexplaihed the

           instantprojectrequirementsanddeadlinetoM s.Saucier.
           M s.Bucurand lconcurthafthe âppointm entof Sydney Saucieras second

           paralegalisappropriate forthe following reasons:

           (a)    M s.Saucierisanexpedencedcapitalcaseand federAlcdminalparalegal
                  who worked fortheFederalPublicDtfender,Cenv'
                                                             qlDistrictof

                  California,from August1996 toApril2003;

                     APPLICATION TO APPOIM SECOND PAM LEGAL
                                         Z
                      *                                        *
Case 2:03-cv-06194-JGB Document 40 Filed 08/24/04 Page 3 of 4 Page ID #:2665




           (b)    M s.SaucierworkedasparalegalinthehabeasunitoftheFederalPublic
                  D efenderduring thattim e period. She hasexperience in indexing

                  docum ent:in largefederélhabeascases;and

           (c)    M s.Saucierhasagreedtoacceptappointmentontheinstantcaseatthe
                  CJA presumptivel'
                                  ateof$35410. . Shehasrepresentedthatsheis

                  available to w ork on the instantcaseunderthe term s authorized in this

                  Court'sAugust11,2004 Order.

    9.     Based on the foregoing,IrequestthatSydney Saucierbe appointed asa setohd

           paralegalattherateof$35 perhour.

     10.   CounselfurtherrequestthAtM s.Saucierbeallowed to subm itinterim

           monthlyvouchers(CJA-3Iforms)forpm legalcompensationon $heabove-
           referenced m atter.



           IdeclareunderpenaltyofperjurytmderthelawsoftheUnitedStatesthatthe
    foregoing istl'ue and correctto thebestofmy knowledge.Thisdeclâration wasexecuted

    atM alibu,Califom ia,on August24,2004.

                                                                    l

                                                       DA          M CKER




                     APPLICATION TO APPOX T SECOND PAM LEGAL
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Case 2:03-cv-06194-JGB Document 40 Filed 08/24/04 Page 4 of 4 Page ID #:2666
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         documentdescribed asRAPPLICATION FOR APPOINTM ENT O F SECOND
         PAR AI,EGAL FO R PETITIONERM onAtzgtlst24,2004,oh a11ihterested pattiesitl
         thisaction asfollows:

         PaulRoadarm el,Esq.
         DeputyAtiorney General
         OfficeofAttorney GeneralofCalifom ia
         300 S.Spring St.,Stç.500
         LosA ngeles,CA 90013-1204
         CapitalCaseLaw Clerks
         U .S.Distnc
                   ' tCourt- 8m tloor
         United States Coutthouse
         312 N .Spring Steet
         LosAngeles,Califotnia90012



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         Executedon August24,2004,atV alibu,Califomia.Ideclareundçrpenqltyofperjury
         underthelawsofthe United Statesthatthe foregoing istrueand correcttt)thebestof
         m y personalknow ledge.


                                                  CAROL CATALDO-M M IREZ
